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    IT IS ORDERED as set forth below:



    Date: December 13, 2016                                          _________________________________

                                                                                 Mary Grace Diehl
                                                                           U.S. Bankruptcy Court Judge

   ______________________________________________________________



                              UNITED STATES BANKRUPTCY COURT
                               NORTHERN DISTRICT OF GEORGIA
                                       ROME DIVISION

In Re:
Matthew Bentley Gerard Simpson                                  )
Kaylee Lynn Simpson                                             )
                                                                )
                                                                )        Case No. 15-40789-mgd
                           Debtor,                              )        Chapter 7
                                                                )
---------------------------------------------------------------------------------------------------------------------
Matthew Bentley Gerard Simpson                                  )
Kaylee Lynn Simpson                                             )
                                                                )
                           Plaintiff,                           )
    v.                                                          )        Adversary Proceeding No. 16-04022
                                                                )
                                                                )        Adversary Complaint For:
American Educational Services; Bank Of America )
Na; Discover Financial Services; The National                   )        Discharge of Student Loans
Collegiate Student Loan Trust, 2005-3; The                      )
National Collegiate Student Loan Trust, 2007-3;                 )
The National Collegiate Student Loan Trust,                     )
2007-4; The National Collegiate Student Loan                    )
Trust, 2006-2; Ascension Point Recovery Services, )
LLC; Citibank, National Association; Performant )
Recovery, Inc.; Williams & Fudge, LLC;                          )
Transworld Systems, Inc.; Great Lakes Higher                    )
Ed Corp.; U.S. Dept. Of Education; Sunrise Credit )
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Services, Inc.; SIMM Associates, Inc.; United       )
Guaranty Corporation; JPMorgan Chase Bank,          )
Capital Management Services, L.P.; Weltman,         )
Weinberg & Reis Co. LPA; CIT Education              )
Loan Trust 2007-1                                   )

                      Defendants,


                               AGREED JUDGMENT ENTRY

       NOW COMES Defendants, The National Collegiate Student Loan Trust, 2005-3;

National Collegiate Student Loan Trust 2007-3; The National Collegiate Student Loan

Trust, 2007-4; and National Collegiate Student Loan Trust 2006-2 (collectively "NCSLT")

by and through its attorney, Craig B. Lefkoff, and, Plaintiffs Matthew Bentley Gerard

Simpson and Kaylee Lynn Simpson ("Plaintiffs") by and through their attorney, Will B.

Geer, and hereby stipulate and agree as follows:

       1.     The student loan debts due and owing by Plaintiff to NCSLT are discharged

              as to Plaintiffs pursuant to 11 U.S.C. Section 523(a)(8) of the United States

              Bankruptcy Code. The loans are identified as follows:

              a       A note originally from Kaylee Simpson to Bank of America, N.A. with

                      an original principal balance of $5,000 and disbursed on June 27,

                      2007.

              b.      A note originally from Kaylee Simpson to Bank of America, N.A. with

                      an original principal balance of $6,000 and disbursed on June 29,

                      2007.
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               c.     A note originally from Matthew B. Simpson to Bank of America, N.A.

                      with an original principal balance of $5,000 and disbursed on July 11,

                      2005. This note was co-signed by Alvin E. Simpson.

               d.     A note originally from Matthew B. Simpson to Bank of America, N.A.

                      with an original principal balance of $10,000 and disbursed on May

                      22, 2006. This note was co-signed by Carol S. Simpson.

               e.     A note originally from Matthew B. Simpson to Bank of America, N.A.

                      with an original principal balance of $14,000 and disbursed on July 11,

                      2007. This note was co-signed by Alvin E. Simpson.

       2.      This order shall have no effect on the liability of the co-signors, Alvin E.

               Simpson and Carol S. Simpson, for repayment of the loans to NCSLT.

                                [END OF DOCUMENT]

SO AGREED:

____/s/__________________________
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____/s/__________________________
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